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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN ABRAHAM, M.D.

                 Plaintiff           No. 2:20-cv-02967-MMB

          v.

THOMAS JEFFERSON UNIVERSITY AND
THOMAS JEFFERSON UNIVERSITY
HOSPITALS, INC.

                 Defendants.


 JEFFERSON’S SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF ITS
              MOTIONS FOR JUDGMENT AND A NEW TRIAL
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     A.      Doe v. Rollins and Doe v. St. John’s Are Entirely Consistent with and Support
             the View of Title IX Advanced by Jefferson in Memoranda already Filed.

       Jefferson has earlier explained its view of the Third Circuit’s opinions Doe v. University of

the Sciences, 961 F.3d 203 (3d. Cir. 2020), and Doe v. St. Joseph’s University, 832 F. App’x 770

(3d Cir. 2020). See ECF No. 165, at 10–11; ECF No. 166, at 12–13. Doe v. Rollins, 77 F.4th

1340, 1351 (11th Cir. 2023), and Doe v. St. John’s, 91 F.4th 643, 665 (2d Cir. 2024) are consistent

with Jefferson’s understandings. Both cases hold that Title IX does not require that a Title IX

claimant plead or prove a particularized, pre-conceived model of discrimination, adopting the view

expressed in Doe v. Purdue, 928 F.3d 652, 667 (7th Cir. 2019), where the court explained there is

“no need to superimpose doctrinal tests on the statute” because “all of these categories simply

describe ways in which a plaintiff might show that sex was a motivating factor in a university’s

decision to discipline a student.” The 11th Circuit agreed in Rollins, 77 F.4th at 1351 (citing Doe

v. Samford Univ., 29 F.4th 675, 686 (11th Cir. 2022)). St. John’s did too. See 91 F.4th at 674 n.9

(“[T]he erroneous outcome and selective enforcement theories described in Yusuf are not

necessarily the only ways in which a plaintiff may show that a university’s disciplinary

proceedings exhibited sex-based bias.”). The Third Circuit is in accord. See Univ. of Sciences,

961 F.3d at 209.

       But nothing about those holdings relieves a plaintiff from articulating and proving that

some specific act by the defendant, motivated by gender bias, caused the plaintiff harm. As then-

Judge Barrett noted in Purdue, a pleading case, the liberality in pleading does not mean that actual,

disciplined proof of discrimination that caused harm to the plaintiff was not required at the fact-

finding stage of the case. See 928 F.3d at 670. That is also the teaching of Rollins (on summary

judgment); St. John’s; St. Joseph’s (summary judgment); and Doe v. Univ. of Denver, 1 F.4th 822,
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830 (10th Cir. 2021) (summary judgment). 1

       B.       Jefferson’s Right to a Fair Trial Was Impaired by the Exclusion of Dr.
                Abraham’s Contemporaneous Statements Contradicting the Entire Thrust of
                His Testimony and His Account of the Events of June 23/24.

         The Court commented on February 28, 2024, as follows:

         Well, look… Let me say this. There is no question that, from his own testimony
         and the documents, plaintiff made certain statements that are inconsistent with the
         other with each other but I think, as far as the jury’s verdict is concerned, I have to
         assume that the jury did not think they were material and I don’t think I can penalize
         the plaintiff on posttrial motions because he made inconsistent statements. See, he
         did change his position a few times in the record reflects that. And that was argued
         very heavily by Mr. Harvey and Ms. Lori in the closing arguments.

ECF No. 174, 2/28/24 Tr., at 62:8–18.

         To the extent the Court may be suggesting that the excluded evidence is not material 2; that

the Court believes the jury would have disregarded it, thinking it immaterial; and/or that

Jefferson’s counsel had sufficient opportunity to draw attention to inconsistent statements of Dr.

Abraham, and that the jury necessarily considered those arguments and rejected them, we

respectfully believe the Court is incorrect.

         First, given the way the trial was conducted, with constant recitals as to what Dr. Abraham

asserted “happened at the party,” only sometimes couched in terms of what he “reported” to others;

and the overwhelming import placed on the purported truth of that testimony in Dr. Abraham’s

counsel’s closing arguments, it is not reasonable to believe that the jury was not swayed by those

arguments. They played an enormous role in this trial, notwithstanding the Court’s ruling on the



1
  The Plaintiff in Rollins has petitioned for certiorari, claiming there is a split in the circuits as to this point. No. 23-
509 (U.S.). Jefferson agrees with the arguments advanced by Rollins that no such split exists. The Court will consider
the petition at its March 15, 2024 conference.
2
  The Court observed during the February 28 hearing that neither party objected to its ruling that the truth of what
happened at the party was not relevant. ECF No. 174, 2/28/24 Tr., at 24:21–25:9. That is incorrect. Jefferson opposed
Dr. Abraham’s motion in limine to prohibit the introduction of evidence identified by Jefferson that went directly to
the falsity of the anticipated testimony of Dr. Abraham as to what happened at the party. ECF Nos. 83, 96, 112.


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motion in limine and efforts to advise the jury that such evidence was not offered for its truth.

Sometimes courts can place unwarranted faith in the effectiveness of an instruction to a jury that

something is “not offered for its truth,” and circumstances like those present here – repeated

accounts of what happened at the party, followed by Plaintiff’s exhortation to the jury to find that

Dr. Phillips was a “liar,” that Dr. Abraham was “the most credible guy” and “did nothing wrong”

– will overcome even the most earnest effort by the Court to instruct the jury to ignore those

allegations “for their truth.” ECF No. 146, 12/7/23 Tr., at 52:10–14, 64:16–17. Parsing what is

and is not offered for the truth is not a natural intellectual exercise among non-lawyers serving on

a jury, and especially so where testimony about the subject whose “truth” is said not to be at issue

so permeates the trial.

       Second, whether the jury considered and disregarded such evidence of Abraham’s

inconsistent statements as was admitted, is irrelevant to whether the evidence that was excluded

was material and ought to have been admitted. The excluded evidence was vastly different in

character and volume than that to which Jefferson was able to refer to in its arguments. The Court

excluded not just a single, cumulative piece of evidence, whose exclusion might be said to have

been immaterial in the overall scheme. It excluded voluminous evidence, including multiple

statements of Dr. Abraham made before, during, and immediately after the events in question that

are fundamentally irreconcilable with his later adopted versions of what took place on June 23/24.

We will spare the Court another review of that evidence but respectfully suggest it is not possible

to conclude anything other than that an inability to introduce those statements and confront Dr.

Abraham with them on cross-examination profoundly harmed Jefferson’s substantial rights. See

Leonard v. Stemtech Int’l Inc., 834 F.3d 376, 400 (3d Cir. 2016).

       And, we contend, the Court’s observation at trial of the statements’ purported




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“inflammatory” nature as an additional reason to exclude them (ECF No. 145, 12/6/23 Tr., at

190:9–10) actually proves that point. Far from a reason to exclude them, their graphic nature is an

essential part of their critical relevance. Here was Plaintiff, whose entire case was premised on his

having been wronged by false accusations of sexual misconduct at the hands of a young woman,

writing in real-time, describing his sexual intent toward her, and his shame about his conduct,

directly contrary to his testimony. At trial, as a tactic, that same Plaintiff purposefully inflamed

the jury with accounts of the alleged sexual misconduct on the part of the young woman, at one

point actually recounting to the jury in the most crude and graphic terms possible an alleged request

by her that he have sex with her. 3 Having done so, he should not be heard to complain of a need

to spare the jury from hearing his own crude sexual expressions describing his own sexual desires,

conduct, and morning-after self-assessment, lest it somehow “inflame” the jury against him. The

plain fact is that sexual conduct is part of this case. Dr. Abraham put it there, and did so with relish

when it tactically suited him, 4 and the inflammatory words of a male, middle-aged, world-famous

oncologic surgeon are every bit as relevant and appropriate for the jury to hear as those of a young

woman. Any other result is not fair.

         In addition, even assuming that “what happened at the party” was not at issue, and that the

jury applied that instruction faithfully (which we do not believe is so), the excluded evidence still



3
  Dr. Abraham made sure to be explicit and inflammatory with the jury, going out of his way to testify in that manner:
“[Dr. Phillips] came out and was aggressively all over me. She was saying, come on. I want you to F me. I want you
to F me. You know you want to F me.” ECF No. 138, 12/15/23 Tr., at 177:9–12 (emphasis added). Dr. Abraham
even made sure the jury knew exactly how he claimed Dr. Phillips allegedly positioned her body the next morning,
purposefully conjuring up images in the jurors’ minds in the most salacious terms possible: “She said specifically I
want you to F me in this position. This is my favorite position. She got up on her hands and knees. And she was
trying to encourage me to have sex with her again.” Id. at 212:7–10 (emphasis added). To call that testimony anything
but an effort to inflame the jury is to deny the obvious.
4
  It is not an overstatement to describe Dr. Abraham’s depiction of the conduct of the young woman with whom he
had sex as “slut-shaming,” the practice of describing a woman’s dress, appearance, and behavior as inviting sex, used
in defense of a claim by the woman that she had been assaulted. See, e.g., https://www.dictionary.com/e/slang/slut-
shaming/.


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was highly material – indeed, critical – to evaluate Dr. Abraham’s credibility, a subject put front

and center when his counsel asked the jury to find him the “most credible” witness. ECF No. ECF

No. 146, 12/7/23 Tr., at 64:16–17.

     C.      Dr. Abraham Did Not Prove That Anything About the Handling of the Title IX
             Investigation Was Discriminatory.

       At times, it sure sounded like Plaintiff was arguing that Jefferson’s failure to open a

separate investigation into Dr. Phillips’ conduct was his theory. That is, essentially, the “selective

enforcement” theory, even if Dr. Abraham does not articulate it as such. But the problem is, he

did not prove anything like it.

       First, there was no policy requiring a separate investigation. On February 28, the Court

inquired as to whether there was any evidence that any Jefferson policy required Jefferson to open

two separate investigations. ECF No. 174, 2/28/24 Tr., at 76:20–21. Plaintiff’s counsel reflexively

and incorrectly responded that the policy (JX-17) did require that. Not so. They then claimed that

Ms. Gingold testified that a separate investigation was required. ECF No. 174, 2/28/24 Tr., at

76:15–77:12. Also not so. At trial, Plaintiff’s counsel asked Ms. Gingold “If you -- because

whenever you receive new allegations, you would require a new Notice of Concern, right?” ECF

No. 137, 12/4/23 Tr., at 83:6–7 (emphasis added). Ms. Gingold responded, “If we receive new

allegations, we would either amend this [i.e., the notice of concern], look into it, depending on

what those allegations are. Yes.” Id. at 83:8–9. Gingold’s testimony was not that a new or separate

investigation was required, only that the existing notice could be amended or that Jefferson would

“look into” the new allegations “depending” on their content.

       But second, even if there were such a policy, the incontestable evidence admitted at trial –

proven by Dr. Abraham’s or his own lawyer’s words – is that Dr. Abraham never would have

cooperated with such investigation. Here’s what is undisputed: the incident occurred on June



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23/24. A Notice of Concern was sent on June 27. JX-17. On July 6, Dr. Abraham told Jefferson

that he and his lawyer would show up to provide a statement on July 13 or July 16. JX-33. On

July 9, Abraham spoke to Ms. Fogerty. Dr. Abraham testified that he told Ms. Fogerty he felt he

was “on the receiving end of the sexual misconduct that occurred” and asked “what do I do about

that?” ECF No. 138, 12/5/23 Tr., at 206:16–20. In a follow-up email that day, Ms. Fogerty told

him what to do. She actually invited Dr. Abraham to file a complaint if he wished and instructed

him, in writing, on how he could do so, even providing the Title IX coordinator’s phone number

and email. JX-36.

        Then what happened? On July 11, he was advised that he was under criminal investigation.

Immediately, on July 13, the first of the two alternate dates upon which he said he would appear,

his lawyer wrote to Jefferson to say that Dr. Abraham would not appear nor cooperate, stating that

he “will not submit a written statement tomorrow or be interviewed on Monday [July 16].” JX-

42. The lawyer continued, however, that he “can continue to be in touch about when Dr. Abraham

will give an interview assuming it is advisable.” Id. 5 The same lawyer advised later, in October,

“I will let you know when the criminal matter is resolved and ask that Dr. Abraham then be

permitted to speak to the Title IX investigators, even if that is after their Report is issued.” JX-

52 (emphasis added). Then, in “[e]arly in November” 2018, ECF No. 138, 12/5/23 Tr., at 334:12–

13; see also id. at 332:24–333:3, Dr. Abraham and his counsel were advised that the criminal

investigation was concluded and that no charges would be filed.

        What then? Six weeks then elapse without a single word from Dr. Abraham to Jefferson




5
 While Dr. Abraham was refusing to cooperate in any way with Jefferson, he supplied a written statement to Rothman.
JX-46. His refusal to cooperate was selective. But even then, Dr. Abraham refused to provide any information
regarding Dr. Phillips’ alleged conduct – not only to Jefferson but to Rothman as well. See JX-46, specifically
questions 16 and 17 and the responses thereto, where Mr. Aaron stated, on Dr. Abraham’s behalf, that further
information about Dr. Phillips’ sexual conduct “cannot be provided.”


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that the criminal investigation had concluded or any indication that Dr. Abraham would now be

willing to be interviewed about the events of June 23/24, and not a word is uttered about making

a complaint about Dr. Phillips. Then, Dr. Abraham announced his departure – never having made

a Title IX complaint about Dr. Phillips, as he was advised, in writing on July 9 (JX-36), nor

participating in the Title IX process – entirely of his own volition. JX 56, 61.

         This chronology establishes beyond any possible question the following things: (1) that Dr.

Abraham knew full well, in writing, how to file a complaint about Dr. Phillips’ behavior 6; (2) he

chose not to do so, when, through not the slightest fault or involvement on the part of Jefferson,

Dr. Phillips’ making of a criminal complaint against him led him to decide on the advice of counsel

to refuse to participate in Jefferson’s investigation; and (3) even when the circumstances changed

and the investigation was concluded without charges, he still chose not to participate in Jefferson’s

investigation.     So the theory of liability does not work.                It is flatly inconsistent with the

incontestable facts demonstrated at trial. 7

         Was there another theory? Jefferson thinks there was – albeit only furtively and even



6
  Plaintiff suggested during oral argument on February 28 that the Jefferson Title IX policy provided that any report
of sexual misconduct to any Jefferson employee required the opening of an investigation. ECF No. 174, 2/28/24 Tr.,
at 32–34. In this case, that’s a red herring. Such a policy is necessary and relevant where a potential complainant is
afraid, intimidated, or otherwise pressured not to make a Title IX complaint. In such a case, others’ awareness of the
situation and obligation to open an investigation notwithstanding the victim’s hesitancy to come forward might be
relevant. But here, we have a Harvard/Yale educated, world-famous surgeon, represented by a bevy of lawyers, who
was instructed by Jefferson, in writing, as to how to file a complaint. The notion he was somehow puzzled or
intimidated to not make a complaint if he wished to do so is nothing less than absurd. He made an affirmative decision
not to do so. It is that simple.
7
  During the February 28 oral argument, the Court indicated that Dr. Abraham testified Mr. Toy, a lawyer at Jefferson,
had predicted to Mr. Aaron that the outcome of a hearing would be unfavorable to Dr. Abraham, and therefore that
might have been justification for Dr. Abraham’s refusal to participate in the process. ECF No. 174, 2/28/24 Tr., at
55:11–15. The only evidence of that was Dr. Abraham’s claim that Aaron told Dr. Abraham what Toy said, which is
hearsay erroneously admitted over objection. There is no theory that would justify admitting that hearsay testimony
just because Dr. Abraham was a client of Mr. Aaron. In addition, there was no evidence that Mr. Toy had any control
or influence over the hearing process, making any reliance upon his alleged statement a red herring. Moreover, Dr.
Abraham’s refusal to participate in the Title IX process began long before Mr. Toy’s alleged statement. Nothing about
that hearsay statement rebuts the fundamental point that Dr. Abraham made a fully informed decision to refuse to
participate in the process, even when the purported cause of that refusal, the criminal investigation, was eliminated.


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deceptively pursued. It was a claim that Dr. Abraham’s version of the events of June 23/24 was

truthful and Dr. Phillips’ was not. Although Plaintiff claimed before trial that he had no interest

in such a theory (notwithstanding Mr. Harvey’s prediction Plaintiff would so argue), as

demonstrated in prior filings, his conduct in court both during the trial and in closing argument

demonstrates the opposite. But there are two fundamental problems. He actually claims, and still

does (despite his request to the jury that it find Dr. Abraham’s version was truthful and Dr. Phillips’

a “lie”), that he offered no evidence on the topic at trial. Second, if that’s incorrect, and his theory

did, in fact, involve proof of the truth of his version of the events of June 23/24, then the Court

erred by prohibiting Jefferson from introducing what Jefferson respectfully believes is

overwhelming evidence demonstrating that Dr. Abraham’s version of those events is false. 8

         So, was there some other theory? If there was, we confess we don’t know what it was.

      D.        The Court Misapprehended the Effect of Dr. Abraham’s Invocation of the Fifth
                Amendment.

         At the February 28 argument, the Court inquired as to whether it ought to have given an

“adverse inference” charge to the jury. Jefferson does not contend an adverse inference charge

ought to have been given about Dr. Abraham’s testimony at trial. At trial, after all, he did not

invoke the Fifth Amendment. But the invocation of the Fifth Amendment to decline to participate

in Jefferson’s Title IX process has consequences for this case. A fact-finder in a non-criminal

context is permitted to draw an adverse inference from a party’s invocation of the Fifth

Amendment. Baxter v. Palmigiano, 425 U.S. 308, 317 (1976). Surely, Dr. Abraham had a right

to decline to participate. But just as surely, like any court or jury in America in a civil setting,



8
  Plaintiff’s counsel claimed during the February 28 oral argument that the Court “never precluded” Jefferson from
introducing the substance of the Aaron letter, JX-46, in the defense case. ECF No. 174, 2/28/24 Tr., 40:11–14. Not
so. The Court definitively ruled that it would not allow Jefferson to “go into the details of what he said, even though
I recognize that it is, to some extent, contrary to his direct testimony.” ECF No. 145, 12/6/23 Tr., at 176:3–188:15;
193:23–204:6.


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Jefferson had every right to consider his doing so in addressing the serious allegation that had

come to its attention. Both Jefferson (during its investigation) and the jury (during the civil trial)

could draw an adverse inference against Dr. Abraham.

     E.      Dr. Abraham’s Tortious Interference Theory Is Not Recognized in
             Pennsylvania.

       Dr. Abraham’s claim that Jefferson interfered with his performance of his Rothman

contract is not viable under Pennsylvania law. The Restatement of Torts recognizes two types of

tortious interference. One type, manifested in § 766, occurs where the tortfeasor interferes with

the performance of a contract by the person or entity with whom the plaintiff has a contract. The

other type of interference, manifested in § 766A, occurs when the tortfeasor’s tortious conduct

makes the claimant’s performance of his obligations difficult or impossible, thereby causing the

contract to end. Pennsylvania law does not recognize the latter type of tortious interference claim.

See Phillips v. Selig, 959 A.2d 420, 436 (Pa. Super. 2008); see also Am. Osteopathic Ass’n v. Am.

Bd. of Internal Med., 555 F. Supp. 3d 142, 149 n.3 (E.D. Pa. 2021).

       Clearly, Dr. Abraham’s claim falls under § 766A. He claims that Jefferson interfered with

his performance of the Rothman contract, not Rothman’s performance. Abraham testified that,

after he lost access to Jefferson’s facilities in 2018, his productivity plummeted and caused

Rothman not to renew his contract in 2022. ECF No. 138, 12/5/23 Tr., at 156:22–157:3 (“So, the

easiest analogy I can think of is if you’re a Racecar Driver, you need a car and a track. And you

can’t perform your function without either one of those things. So you have a company that

provides your car, which is like Rothman. And you have a company that provides the track, which

is like Jefferson. And I need both of those things in order to be able to do my job.”); ECF No. 145,

12/6/23 Tr., at 102:1–103:3; ECF No. 146, 12/7/23 Tr., at 161:19–162:3. The same theory was

advanced in counsel’s arguments: “pay attention to the Judge’s charge as to how to prove tortious



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interference. If he has an inability or it makes his Contract performance harder . . . .” ECF No.

146, 12/7/23 Tr., at 63:21–25 (emphasis added).

       Plaintiff’s answer to this seems to be only that the Court gave the standard Pennsylvania

jury instruction on tortious interference with no objection from Jefferson. ECF No. 174, at 12:16–

13:4. That is irrelevant. The question is whether the theory and proof supporting the tortious

interference claim is that embodied in § 766A. It was, and for that reason, cannot sustain a

judgment under Pennsylvania law.

       At oral argument on February 28, the Court observed that Plaintiff did not elicit with any

clarity the capacity in which the alleged tortious interferor (or even who it was) was acting as

opposed to the tortious interferee (or who it was). It was only: “Jefferson,” the interferor; and

“Rothman,” the interferee. But here’s the problem, as the Court noted. The interferee, Rothman,

had a board, officers, and directors. Dr. Vaccaro is the president and chairman of the board of the

Rothman Institute. JX-26; ECF No. 138, 12/5/23 Tr., at 286:14–16. Dr. Purtill was employed by

and was on the board of Rothman ECF No. 145, 12/6/23 Tr., at 22:25–23:4; 85:8. Dr. Vaccaro

and Dr. Purtill did what they did at Rothman as officers and directors of Rothman. One cannot

tortiously interfere with oneself.

       Moreover, Dr. Abraham was terminated from Rothman in 2022, four years after he left

Jefferson. That is when the interference took place, if at all. Dr. Vaccaro testified that Rothman’s

decision not to renew Abraham’s contract had nothing to do with Jefferson. ECF No. 138, 12/5/23

Tr., at 289:7–9. Even according to Dr. Abraham, the only reason he was terminated from Rothman

was the loss of his “race track” at Jefferson. This is not sufficient to sustain a claim against

Jefferson.




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Dated: March 8, 2024                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Brian P. Flaherty, hereby certify that on March 8, 2024, I caused a true and correct

copy of the foregoing Motion to be served on all counsel of record via the Court’s ECF system.



                                                            /s/ Brian P. Flaherty
                                                            Brian P. Flaherty




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